                        THE UNITED STATES DISTRICT COURT                         Motion GRANTED.
                      FOR THE MIDDLE DISTRICT OF TENNESSEE                       Hearing set for
                               NASHVILLE DIVISION                                6/4/15 at 11:00 a.m.
UNITED STATES OF AMERICA                      )
                                              )
                                              )
       v.                                     )       No. 3:13-00139
                                              )       JUDGE TRAUGER
                                              )
FALLON SABLAN                                 )



                     MOTION TO SET CHANGE OF PLEA HEARING

       COMES now, FALLON SABLAN, through counsel, Ron Munkeboe Jr. and

respectfully moves this Honorable Court to set a change of plea hearing for the Defendant. As

grounds for this Motion, the Defendant would state that she intends to enter a plea of guilty in

this matter.


       Respectfully submitted this 18th day of May, 2015.


                                              /s/ Ron Munkeboe Jr.
                                              Ron Munkeboe Jr. (BPR #020220)
                                              Attorney at Law
                                              306 Gay Street, Suite 304
                                              Nashville, Tennessee 37201
                                              munkeboeatty@aol.com




                                CERTIFICATE OF SERVICE

       I hereby certify that on May 18, 2015, I electronically filed the foregoing Motion to Set
Change of Plea Hearing with the clerk of the court by using the CM/ECF system, which will
send a Notice of Electronic Filing to the following: Clay Lee, Assistant United States Attorney,
110 Ninth Avenue South, Suite A961, Nashville, Tennessee 37203.




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